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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      District ofNew Jersey



                                                      970 Broad Street 7th floor 973-645-2700
                                                      Newark, Nr.v.kruy07102


                                                      September 3, 2019

Harry H. Rimm, Esq.
Sullivan & Worcester LLP
1633 Broadway
New York, New York 10019




        This letter sets forth the plea agreement between your client, Frank Gilliam, and the United
States Attorney for the District of New Jersey (''this Office").

Charge

        Conditioned on the understandings specified below, this Office will accept a guilty plea
from Frank Gilliam to an Information which charges him with wire fraud, in violation of 18 U.S.C.
§ 1343.

        If Frank Gilliam enters a guilty plea to the Information and is sentenced on this charge, and
otherwise fully complies with all of the terms of this agreement, this Office will not initiate any
further criminal charges against Frank Gilliam for his scheme to defraud contributors to a youth
basketball club of money between in or about 2013 and in or about 2018.

        However, in the event that a guilty plea in this matter is not entered for any reason or the
judgment of conviction entered as a result of this guilty plea does not remain in full force and
effect, Frank Gilliam agrees that any charges that are not time-barred by the applicable statute of
limitations on the date this agreement is signed by Frank Gilliam may be commenced against him,
notwithstanding the expiration of the limitations period after Frank Gilliam signs the agreement.

Sentencing

        The violation of 18 U.S.C. § 1343 to which Frank Gilliam agrees to plead guilty carries a
statutory maximum prison sentence of 20 years and a statutory maximum fine equal to the greatest
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of: (1) $250,000; (2) twice the gross amount of any pecuniary gain that any persons derived from
the offense; or (3) twice the gross amount of any pecuniary loss sustained by any victims of the
offense. Fines imposed by the sentencing judge may be subject to the payment of interest.

       The sentence to be imposed upon Frank Gilliam is within the sole discretion of the
sentencing judge, subject to the provisions of the Sentencing Reform Act, 18 U.S.C. §§ 3551-
3742, and the sentencing judge's consideration of the United States Sentencing Guidelines. The
United States Sentencing Guidelines are advisory, not mandatory. The sentencing judge may
impose any reasonable sentence up to and including the statutory maximum term of imprisonment
and the maximum statutory fine. This Office cannot and does not make any representation or
promise as to what guideline range may be found by the sentencing judge, or as to what sentence
Frank Gilliam ultimately will receive.

        Further, in addition to imposing any other penalty on Frank Gilliam, the sentencing judge:
(1) will order Frank Gilliam to pay an assessment of $100 pursuant to 18 U.S.C. § 3013, which
assessment must be paid by the date of sentencing; (2) must order Frank Gilliam to pay restitution
pursuant to 18 U.S.C. § 3663 et seq.; (3) may order Frank Gilliam, pursuant to 18 U.S.C. § 3555,
to give notice to any victims of his offense; (4) pursuant to 18 U.S.C. § 3583, may require Frank
Gilliam to serve a tenn of supervised release of not more than three years, which will begin at the
expiration of any term of imprisonment imposed. Should Frank Gilliam be placed on a term of
supervised release and subsequently violate any of the conditions of supervised release before the
expiration of its tenn, Frank Gilliam may be sentenced to not more than two years' imprisonment,
in addition to any prison tenn previously imposed, regardless of the statutory maximum term of
imprisonment set forth above and without credit for time previously served on post-release
supervision, and may be sentenced to an additional tenn of supervised release.

Restitution

        Frank Gilliam agrees to make full restitution for all losses resulting from the criminal
activity underlying the charge in the Information in the amount of$87,215. Frank Gilliam agrees
that $41,335 in U.S. currency seized during the search of his residence on or about December 7,
2018 shall be applied to his restitution obligation.

Rights of This Office Regarding Sentencing

        Except as otherwise provided in this agreement, this Office reserves its right to take any
position with respect to the appropriate sentence to be imposed on Frank Gilliam by the sentencing
judge, to correct any misstatements relating to the sentencing proceedings, and to provide the
sentencing judge and the United States Probation Office all law and information relevant to
sentencing, favorable or otherwise. In addition, this Office may inform the sentencing judge and
the United States Probation Office of: (1) this agreement; and (2) the full nature and extent of
Frank Gilliam's activities and relevant conduct with respect to this case.




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Stipulations

         This Office and Frank Gilliam agree to stipulate at sentencing to the statements set forth in
the attached Schedule A, which hereby is made a part of this plea agreement. This agreement to
 stipulate, however, cannot and does not bind the sentencing judge, who may make independent
factual findings and may reject any or all of the stipulations entered into by the parties. To the
extent that the parties do not stipulate to a particular fact or legal conclusion, each reserves the
right to argue the existence of and the effect of any such fact or conclusion upon the sentence.
Moreover, this agreement to stipulate on the part of this Office is based on the information and
evidence that this Office possesses as of the date of this agreement. Thus, if this Office obtains or
receives additional evidence or information prior to sentencing that it determines to be credible
and to be materially in conflict with any stipulation in the attached Schedule A, this Office shall
not be bound by any such stipulation. A determination that any stipulation is not binding shall not
release either this Office or Frank Gilliam from any other portion of this agreement, including any
other stipulation. If the sentencing court rejects a stipulation, both parties reserve the right to argue
on appeal or at post-sentencing proceedings that the sentencing court was within its discretion and
authority to do so. These stipulations do not restrict this Office's right to respond to questions :from
the Court and to correct misinformation that has been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

        As set forth in Schedule A, this Office and Frank Gilliam waive certain rights to file an
appeal, collateral attack, writ, or motion after sentencing, including but not limited to an appeal
under 18 U.S.C. § 3742 or a motion under 28 U.S.C. § 2255.

Immigration Conseguences

        Frank Gilliam understands that, ifhe is not a citizen of the United States, his guilty plea to
the charged offense will likely result in his being subject to immigration proceedings and removed
:from the United States by making him deportable, excludable, or inadmissible, or ending his
naturalization. Frank Gilliam understands that the immigration consequences of this plea will be
imposed in a separate proceeding before the immigration authorities. Frank Gilliam wants and
agrees to plead guilty to the charged offense regardless of any immigration consequences of this
plea, even if this plea will cause his removal from the United States. Frank Gilliam understands
that he is bound by his guilty plea regardless of any immigration consequences of the plea.
Accordingly, Frank Gilliam waives any and all challenges to his guilty plea and to his sentence
based on any immigration consequences, and agrees not to seek to withdraw his guilty plea, or to
file a direct appeal or any kind of collateral attack challenging his guilty plea, conviction, or
sentence, based on any immigration consequences of his guilty plea.

Other Provisions

        This agreement is limited to the United States Attorney's Office for the District of New
Jersey and cannot bind other federal, state, or local authorities. However, this Office will bring
this agreement to the attention of other prosecuting offices, if requested to do so.

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       This agreement was reached without regard to any civil or administrative matters that may
be pending or commenced in the future against Frank Gilliam. This agreement does not prohibit
the United States, any agency thereof (including the Internal Revenue Service), or any third party
from initiating or prosecuting any civil or administrative proceeding against Frank Gilliam.

        No provision of this agreement shall preclude Frank Gilliam from pursuing in an
appropriate forum, when pennitted by law, an appeal, collateral attack, writ, or motion claiming
that Frank Gilliam received constitutionally ineffective assistance of counsel.

No Other Promises

       This agreement constitutes the plea agreement between Frank Gilliam and this Office and
supersedes any previous agreements between them. No additional promises, agreements, or
conditions have been made or will be made unless set forth in writing and signed by the parties.


                                                     Very truly yours,

                                                     CRAIG CARPENITO
                                                     Uni:Etates Attorney
                                                     ay:Sean   /f:J{/
                                                        Assistant U.S. Attorney


APPROVED:                        ,,

     . Cortes, Jr.   b
Deputy Chief, Special Prosecutions Division




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          I have received this letler from my attorney, Harry H. Rimm, Esq. I have read it. My
 attorney and I have discussed it and all of its provisions, including those addressing the charge,
 sentencing, restitution, stipulations, waiver, and immigration consequences. I understand this
 letter fully. I hereby accept its te1ms and conditions and acknowledge that it constitutes the plea
 agreement between the paiiies. I understand that no additional promises, agreement<., or conditions
 have been made or will be made tmless set folih in writing and signed by the parties. I want to
 plead guilty pursuant to this plea agreement.



 AGREED AND ACCEPTED:




 Frank Gilliam



        J have discussed with my client this plea agreement and all of its provisions, including
 those addressing the charge, sentencing, restitution, stipulations, waiver, and immigration
 consequences. My client understands this plea agreement fully and wants to plead guilty pursuant
 to it.



      ~~-~
 Harry H. Rimm, Esq.
                                                                     Date:




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                                  Plea Agreement with Franl<. Gilliam

                                              Schedule A

          1.      This Office and Frank Gilliam recognize that the United States Sentencing
  Guidelines are not binding upon the Court. This Office and Frank Gilliam neve1theless agree to
  the stipulations set forth herein.

          2.      The version of the United States Sentencing Guidelines effective November 1, 2018
  applies in this case.

         3.      The applicable guideline is U.S.S.G. § 2Bl .1. The guideline carries a Rase Offense
  Level of 7 pursuant to U.S.S.G. § 2B1 .l(a)(l).

         4.      The patties agree that the loss attributable to the offense conduct was more than
  $40,000 but less than $95,000. This results in a 6-lcvcl increase pursuant to U.S.S.G. §
  2Bl.l (b)(l)(D).

          5.      The patties agree that the offense conduct involved ten or more victims, which
 results in a 2-level increase pursuant to U.S.S.G. § 2Bl. l(b)(2)(A)(i).

        6.     The parties agree that the offense involved a misrepresentation that Frank Gilliam
 was acting on behalf of a charitable organization. This results in a 2-level increase pursuant to
 U.S.S.G. § 2Bl.l(b)(9)(A).

         7.      Accordingly, the parties agree that the total offense level for Count 1 is 17.

          8.      As of the date of this letter, Frank Gilliam has clearly demonstrated a recognition
  and affirmative acceptance of personal responsibility for the offenses charged. Thus, a downward
  adjustment of2 levels for acceptance of responsibility is appropriate if Frank Gilliam's acceptance
  of responsibility continues through the date of sentencing. U.S.S.G. § 3El.l(a).

          9.     As of the date of this letter, Frank Gilliam has assisted authorities in the
 investigation or prosecution of his own misconduct by timely notifying authorities of his intention
 lo enter a plea of guilty, thereby permitting this Office to avoid preparing for trial and permitting
 this Office and the cou1i to allocate their resources efficiently. At sentencing, this Office will
 move for a further 1-point reduction in Frank Gilliam's offense level pursuant to U.S.S.G. §
 3El.l(b) if the following conditions are met: (a) Frank Gilliam enters a plea pursuant to th.is
 agreement, (b) this Office in its discretion determines that Frank Gilliam's acceptance of
 responsibility has continued through the date of sentencing and Frank Gilliam therefore qualifies
 for a 2-point reduction for acceptance of responsibility pursuant to U.S.S.G. § 3El.l(a), and (c)
 Frank Gilliam's offense level under the Guidelines prior to the operation of§ 3El.l(a) is 16 or
 greater.




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          10.    In accordance with the above, the parties agree that the total Guidelines offense
  level applicable to Frank Gilliam is 14 (the "agreed total Guidelines offense level.")

          11.    Frank Gilliam reserves the right to move for a variance based on the factors set
  forth in 18 U.S.C. § 3553(a). This Office reserves the right to oppose such a motion. The parties
  agree not to seek or argue for any upward or downward departure, adjustment or variance not set
  forth herein.

           12.    Frank Gilliam knows that he has and, except as noted below in this paragraph,
  voluntarily waives, the right to file any appeal, any collateral attack, or any other writ or motion,
  including but not limited to an appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C. § 2255,
  which challenges the sentence imposed by the sentencing comi if that sentence falls within or
  below the Guidelines range that results from the agreed total Guidelines offense level of 14. This
  Office will not file any appeal, motion or writ which challenges the sentence imposed by the
  sei1tencing court if that sentence falls within or above the Guidelines range that results from the
  agreed total Guidelines offense level of 14. The parties reserve any right they may have under 18
  U.S.C. § 3742 to appeal the sentencing court's determination of the criminal history category. The
  provisions of this paragraph are binding on the patties even if the Court employs a Guidelines
  analysis different from that stipulated to herein. Furthermore, if the sentencing comi accepts a
  stipulation, both parties waive the right to file an appeal, collateral attack, writ, or motion claiming
  that the sentencing comi erred in doing so.

          13.     Both paiiies reserve the right to oppose or move to dismiss any appeal, collateral
  attack, writ, or motion ball'cd by the preceding paragraph and to file or to oppose any appeal,
  collateral attack, writ or motion not ball'ed by the preceding paragraph.




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